4/8/2021            Case 1:21-cr-00117-RCL Document
                                                Yahoo 168-21       Filed
                                                      Mail - Character letter09/30/22 Page 1 of 1




     Character letter

     From: Michael Oonk (michael4520@gmail.com)

     To:    bonnienichols93@yahoo.com

     Cc:    michael4520@gmail.com
     Date: Tuesday, April 6, 2021, 06:38 PM CDT




     To whom it may concern.

         My name is Michael Oonk and I own Barkleys LLC. I’m writing to let you know about the time I spent and interactions
     I have had with Ryan Nichols.
         I met Ryan in 2016. We were both in a group for professionals looking to improve our faith, family, finances, and
     fitness. The 4 Fs as we often referred to it. From the very first time I met him, Ryan seemed to me like a very focused
     and driven individual. He was always excited about a new workout he had learned or some new marketing technique he
     couldn’t wait to try or upcoming time in the woods with his kids.
         When disaster struck Houston in 2017 after a hurricane and flood, Ryan convinced us we had to go help those that
     couldn’t help themselves. He bought supplies, a boat and trailer, rounded us up and off we went to do high water
     rescues. I saw him take his life jacket off and give it to a senior that we had to paddle to safety on the boat.
           Ryan believes in right and wrong. He can’t stand to see people or animals suffer. He has all the hallmarks of a good
     human being. He is not infallible however. He loves the marines, he loves his family, and he loves his country. We could
     all use more people like Ryan.

     God Bless,

     Michael Oonk
     9403004520




                                                                                                                                  1/1
